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 4   Attorney for Leo Torres

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 7

 8                IN THE UNITED STATES DISTRICT COURT

 9               FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA, )
                               )      MAG 07-0207-KJM
11                  Plaintiff, )
                               )      STIPULATION AND
12     v.                      )      ORDER MODIFYING
                               )      CONDITIONS OF RELEASE
13   LEO TORRES,               )
                               )
14                  Defendant. )
                               )
15   __________________________)

16   1.   REASONS FOR REQUESTED MODIFICATION:

17         On July 3, 2007, the Court ordered the defendant

18   released on a $200,000 bond, $100,000 secured by the

19   defendant’s property (2333 Olive St., Dos Palos, [Merced

20   County] California 93620) and another $100,000 unsecured

21   appearance bond cosigned by his wife, sister, and brother-

22   in-law under the conditions stated in the record.         The

23   unsecured bond has been signed and will be filed on July 12,

24   2007.   However, preliminary valuations of defendant’s

25   property (his residence) show its value has fallen




                                     (1)
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 1   substantially and his equity has decreased to less than

 2   $50,000.   This is due to a general decline in property

 3   values in the area.

 4         Defendant’s sister and brother-in-law, Alejandro and

 5   Marisela Dieguez are willing to pledge their residence

 6   located at 55 Geil St., Salinas [Monterey County],

 7   California 93901 to secure defendant’s release.         They are

 8   confident their equity exceeds the $100,000 ordered by the

 9   court.    In addition, they have signed the unsecured

10   appearance bond.

11         A modification of the conditions of release is

12   acceptable to the government and pretrial services.          Counsel

13   for the government has authorized defense counsel to sign

14   the stipulation on his behalf.

15   2.   STRIPULATION:

16         IT IS HEREBY STIPULATED BY THE PARTIES THAT the

17   property of defendant’s sister and brother-in-law located at

18   55 Giel St., Salinas, California 93901, may be used in place

19   of defendant’s property for the $100,000 secured bond

20   required by the court for defendant’s release.         In the event

21   the equity of this property is found to be less than

22   $100,000, a combination of this property and defendant’s

23   property may be used to satisfy the secured bond

24   requirement.   All other conditions of release remain in

25   effect.




                                     (2)
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 1   DATED: July 11, 2007                  Signature on original
 2                                     ________________________

 3                                           Robert J. Peters
                                             Attorney for Defendant
 4

 5                                             Signature on original
                                             ________________________
 6
                                             Jason Hitt
 7                                           Assistant U.S. Attorney

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 9   3.   ORDER:

10         GOOD CAUSE APPEARING, the above stipulation is

11   approved.     The Dieguez’ property described in the

12   stipulation may be used to secure defendant’s release.            If

13   the equity in that residence is found to be less than

14   $100,000, a combination of the Dieguez’ property and

15   defendant’s property may be used to secure his release.

16         All other conditions of release as stated in the record

17   remain in full force and effect.

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19   DATED:   July 12, 2007

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                                     (3)
